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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------X
FERGUSON AND KATZMAN               :
PHOTOGRAPHY, INC.,                 :
                    Plaintiff,     :    20 Civ. 8854 (VM)
                                   :
     - against -                   :         ORDER
                                   :
KEY FOOD STORES CO-OPERATIVE, INC.,:
et al.,                            :
                    Defendants.    :
-----------------------------------X
VICTOR MARRERO, United States District Judge.

    The conference currently scheduled for Friday, January

29, 2021 at 1:30 p.m. is hereby canceled.

SO ORDERED.

Dated:    New York, New York
          28 January 2021




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